                        IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF TENNESSEE AT GREENEVILLE

                          CRIMINAL MINUTES: Change of Plea

USA vs   Lindsey Louise Krajeck & Caleb Nathaniel Daugherty         DATE   07/20/20

Case No. CR-2-19-196               Time    10:53 a.m.           To    11:35 a.m.

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           Honorable J. Ronnie Greer, U. S. District Judge, Presiding

    Kathy Hopson                Karen Bradley             Greg Bowman
    Deputy Clerk                 Court Reporter           Asst. U.S. Attorney
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     DEFENDANT(s)                                DEFENSE ATTORNEY(s)
 Lindsey Louise Krajeck (3)                         Eric Reach
 Caleb Nathaniel Daugherty (26)                     Michael Menefee

PROCEEDINGS:

Defendant(s) Sworn

Court questions defendant(s) regarding physical and mental conditions and
advises defendant of nature and possible consequences of plea

Indictments/reading waived

Motion of defendant(s) to change plea

Plea of Guilty by Lindsey Krajeck to        1      - Accepted

Plea of Guilty by Caleb Daugherty to        1      - Accepted

Plea Agreement for Lindsey Krajeck filed on 04/29/20 [Doc. 278]

Plea Agreement for Caleb Daugherty filed on 04/07/20 [Doc. 258]

Remaining Counts to be dismissed at time of sentencing

PSI reports requested

Defendant(s) remanded to custody of USM

Plea Agreement(s) Taken Under Advisement

SENTENCING DATE:
November 16, 2020 @ 9:00 for defendant Lindsey Krajeck & December 7, 2020 @ 9:00
for defendant Caleb Daugherty Before Honorable J. Ronnie Greer




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